                   Case 4:20-cr-06028-SMJ                ECF No. 6       filed 09/25/20         PageID.46 Page 1 of 1
                                                                                                                            FILED IN THE

                                               CHARGES AND PENALTIES                                                    U.S. DISTRICT COURT
                                                                                                                  EASTERN DISTRICT OF WASHINGTON




       CASE NAME: ________________________________
                   AMADO DE LA MORA CARDENAS
                                                                                                                   Sep 25, 2020
                                                                                       CASE NO. ______________________
                                                                                                4:20-mj-07239-MKD
                                                                                                                          SEAN F. MCAVOY, CLERK



                  TOTAL # OF COUNTS: 1               1          FELONY               MISDEMEANOR           _________PETTY OFFENSE




Count              Statute                  Description of Offense                                              Penalty

  1      21 U.S.C. § 846           Conspiracy to Distribute 500 Grams or     CAG not less than 10 years nor more than life;
                                   More of a Mixture or Substance Containing and/or $10,000,000 fine;
                                   Methamphetamine                           not less than 5 years nor more than life supervised release;
                                                                             a $100 special penalty assessment; and
                                                                             denial of certain federal benefits pursuant to
                                                                             21 U.S.C. '' 862 and 862a
                                                                             Deportation




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